   Case 2:05-cv-04182-SRD-JCW Document 1405-17 Filed 10/23/06 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES             §                CIVIL ACTION
       CONSOLIDATED LITIGATION            §                NO. 06-4024 “K” (2)
                                          §                JUDGE DUVAL
__________________________________________§                MAG. WILKINSON
                                          §
PERTAINS TO: Responder, Levee and MRGO,   §
              O’Dwyer, No. 06-4024        §
__________________________________________§

                                             ORDER

        Having considered the United States Motion to Dismiss, Exhibits thereto, Memorandum

in Support thereof, any opposition thereto, and the entire record herein, it is hereby ORDERED

that plaintiff’s action is dismissed.

        New Orleans, Louisiana, this ____ day of __________, 2006.



                                        ________________________________________
                                        Judge Stanwood R. Duval, Jr.
                                        Eastern District of Louisiana
